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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                   *

 In the Matter of the Petition of GRACE            *           Civil No. JKB-24-0941
 OCEAN PRIVATE LIMITED, et al., for
 Exoneration from or Limitation of                 *           IN ADMIRALTY
 Liability
                                                   *

                                *      *       *       *      *       *

                                               ORDER

       This case was referred to me for discovery. ECF No. 477. In light of the Memorandum and

Order issued by Judge Bredar on April 15, 2025 (ECF No. 500), the parties are ORDERED as

follows:

       1.        The parties shall meet and confer to discuss the implications of Judge Bredar’s

Order on the question of where the witnesses at issue in the Order should be deposed. The parties

shall make reasonable efforts to resolve their differences so that the depositions may be taken

without further judicial intervention. See Loc. R. 104.7.

       2.        The parties shall file a joint status report by April 23, 2025, stating whether they

have reached an agreement on the deposition of the witnesses. If the parties have not reached an

agreement, the parties shall state their respective positions as to how the undersigned should

proceed. If the parties believe further briefing is necessary, they should propose an expedited

briefing schedule.


April 16, 2025                                                /s/
Date                                                   Timothy J. Sullivan
                                                       Chief United States Magistrate Judge
